                 Case 2:20-cv-00882-MLP Document 141 Filed 01/31/22 Page 1 of 5




                                                        The Honorable Michelle L. Peterson
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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8                                                 NO. 2:20-cv-00882-MLP
     O’DONNELL/SALVATORI, INC., an Illinois
 9   corporation,
                                                   SUPPLEMENTAL DECLARATION OF
10                    Plaintiff/Counterclaim       MARK LORBIECKI IN SUPPORT OF
                      Defendant,                   ODS’S MOTION FOR SUMMARY
11                                                 JUDGMENT RE: MICROSOFT’S
             v.                                    COUNTERCLAIM AND
12                                                 DETERMINATION OF AUTHORSHIP
     MICROSOFT CORPORATION, a Washington           RIGHTS FOR MUSIC WORKS
13   corporation,
14                                                 NOTED ON MOTION CALENDAR:
                      Defendant/Counterclaim
15                    Plaintiff.                   February 25, 2022

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25   SUPPLEMENTAL DECLARATION OF MARK LORBIECKI IN            Williams, Kastner & Gibbs PLLC
                                                              601 Union Street, Suite 4100
     SUPPORT OF ODS’S MOTION FOR SUMMARY JUDGMENT RE:         Seattle, WA 98101-2380
     MICROSOFT’S COUNTERCLAIM AND DETERMINATION OF            (206) 628-6600
     AUTHORSHIP RIGHTS FOR MUSIC WORKS - i
     (2:20-cv-00882-MLP)

     7513964.1
                 Case 2:20-cv-00882-MLP Document 141 Filed 01/31/22 Page 2 of 5




 1           1.       I am an attorney for Plaintiff/Counterclaim Defendant O’Donnell/Salvatori, Inc.

 2   (“ODS”) in the above-entitled action. I make this declaration based on personal knowledge, am

 3   over the age of 18 and competent to testify.

 4           2.       Attached hereto as Exhibit 6 is a true and correct copy of a spreadsheet reflecting

 5   known composers for Halo music and the actual registrations or failure to register various works,

 6   either in their proper name or at all. Microsoft has waived confidentiality relative to this

 7   document.

 8           3.       Attached hereto as Exhibit 7 is a true and correct copy of excerpts of the 30(b)(5)
 9   deposition of Microsoft as testified to by Christopher Hull, especially depicting the process of

10   registering a work with ASCAP. Microsoft has waived confidentiality relative to this document.

11           4.       Attached hereto as Exhibit 8 is a true and correct copy of excerpts of the 30(b)(5)

12   deposition of Microsoft as testified to by Jonathan Segal, especially depicting the process of

13   registering a work with ASCAP. Microsoft has waived confidentiality relative to this document.

14           5.       Attached hereto as Exhibit 9 is a true and correct copy of excerpts of the

15   deposition of Paul Lipson especially depicting the process of registering a work with ASCAP.

16   Microsoft has waived confidentiality relative to this document.

17           6.       Attached hereto as Exhibit 10 is a true and correct copy of an email chain relating

18   to the exploration of ODS rights in works and the registration with ASCAP. Microsoft has

19   waived confidentiality relative to this document.

20           7.       Attached hereto as Exhibit 11 is a true and correct copy of an email chain wherein

21   Microsoft’s expressed its intent not to perform registration with ASCAP. Microsoft has waived

22   confidentiality relative to this document.

23           8.       Attached hereto as Exhibit 12 is a true and correct copy of an email chain wherein

24   discussing Attorney Jim Charne’s objection on behalf of ODS to Microsoft’s expressed intent

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      AUTHORSHIP RIGHTS FOR MUSIC WORKS – 1
      (2:20-cv-00882-MLP)

     7513964.1
                 Case 2:20-cv-00882-MLP Document 141 Filed 01/31/22 Page 3 of 5




 1   not to perform registration with ASCAP. Microsoft has waived confidentiality relative to this

 2   document.

 3           9.       Attached hereto as Exhibit 13 is a true and correct copy of an email chain wherein

 4   is further discussion of Microsoft expressed its intent not to perform registration with ASCAP.

 5   Microsoft has waived confidentiality relative to this document.

 6           10.      Attached hereto as Exhibit 14 is a true and correct copy of an email chain wherein

 7   Microsoft grants its license without royalty to ODS composition. Microsoft has waived

 8   confidentiality relative to this document.
 9           11.      Attached hereto as Exhibit 15 is a true and correct copy of an email chain wherein

10   Microsoft expresses its own position that because Microsoft owns the work, there is no

11   entitlement to royalties. Microsoft has waived confidentiality relative to this document.

12           12.      Attached hereto as Exhibit 16 is a true and correct copy of an email chain wherein

13   Microsoft elects not to enforce copyright claims in the form of takedown demands. Microsoft

14   has waived confidentiality relative to this document.

15           13.      Attached hereto as Exhibit 17 is a true and correct copy of an email chain wherein

16   Microsoft grants its license without royalty to ODS composition. Microsoft has waived

17   confidentiality relative to this document.

18           14.      Attached hereto as Exhibit 18 is a true and correct copy of an email chain wherein

19   Microsoft’s contractor expresses its unwillingness to register with ASCAP, BMI, or PRO.

20   Microsoft has waived confidentiality relative to this document.

21           15.      Attached hereto as Exhibit 19 is a true and correct copy of an email chain wherein

22   Microsoft determines that it will only pay on invoices by ODS rather than based upon actual uses

23   by Microsoft. Microsoft has waived confidentiality relative to this document.

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      (2:20-cv-00882-MLP)

     7513964.1
                 Case 2:20-cv-00882-MLP Document 141 Filed 01/31/22 Page 4 of 5




 1           16.      Attached hereto as Exhibit 20 is a true and correct copy of an email chain between

 2   Microsoft and ODS’ attorneys to address nonpayment of various royalties and nonregistration

 3   with ASCAP. Microsoft has waived confidentiality relative to this document.

 4           17.      THE FOREGOING IS TRUE AND CORRECT TO THE BEST OF MY

 5   KNOWLEDGE, SO STATED UNDER PENALTY OF PERJURY UNDER THE LAWS OF

 6   THE STATE OF WASHINGTON AND THE UNITED STATES OF AMERICA.

 7

 8           DATED this 31st day of January 2022.

 9                                                       s/ Mark Lawrence Lorbiecki
                                                         Mark Lawrence Lorbiecki, WSBA # 16796
10                                                       WILLIAMS, KASTNER & GIBBS PLLC
                                                         601 Union Street, Suite 4100
11
                                                         Seattle, WA 98101-2380
12                                                       Tel: (206) 628-6600
                                                         Fax: (206) 628-6611
13                                                       Email: mlorbiecki@williamkastner.com

14                                                       Attorneys for Plaintiff/Counterclaim
                                                         Defendant O’Donnell/Salvatori, Inc.
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      (2:20-cv-00882-MLP)

     7513964.1
                 Case 2:20-cv-00882-MLP Document 141 Filed 01/31/22 Page 5 of 5




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                                  CERTIFICATE OF SERVICE

 2           I hereby certify under penalty of perjury under the laws of the State of Washington that
 3   I electronically filed the foregoing with the Clerk of the Court using the CM/ECF system,
 4
     which will send electronic notification of such filing to all CM/ECF participants.
 5
             DATED this 31st day of January 2022.
 6
                                                       s/ Mark Lawrence Lorbiecki
 7                                                     Mark Lawrence Lorbiecki, WSBA # 16796
 8                                                     WILLIAMS, KASTNER & GIBBS PLLC
                                                       601 Union Street, Suite 4100
 9                                                     Seattle, WA 98101-2380
                                                       Tel: (206) 628-6600
10                                                     Fax: (206) 628-6611
                                                       Email: mlorbiecki@williamkastner.com
11

12                                                     Attorneys for Plaintiff/Counterclaim
                                                       Defendant O’Donnell/Salvatori, Inc.
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      (2:20-cv-00882-MLP)

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